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 In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                     No. 19-1293V


 VITO CANTU,                                       Chief Special Master Corcoran

                     Petitioner,
 v.                                                Filed: February 12, 2021

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                     Respondent.


      ORDER TO AMEND THE DOCKET, ORDER TO STRIKE, AND SCHEDULING
                   ORDER - SPECIAL PROCESSING UNIT

      A telephonic status conference was held on February 12, 2021. Jordan Whiddon
appeared on behalf of Petitioner, and Lara Englund appeared on behalf of Respondent.

       During the call, Respondent’s counsel confirmed that Respondent had completed
a medical review and intends to defend this case. Respondent’s counsel noted that,
although Petitioner is alleging a right shoulder injury, the available vaccination record
documents administration of the December 31, 2017 vaccine in the left arm.
Respondent’s counsel further asserted that Petitioner’s records do not preponderantly
establish onset of shoulder pain within 48 hours of vaccination. Respondent’s counsel
agreed to file a Rule 4(c) Report within 30 days.

       Petitioner’s counsel thereafter agreed to file an Exhibit List setting forth all the
exhibits filed to date and an amended Statement of Completion by the deadline set forth
below. Petitioner’s counsel was notified that Petitioner’s previous filings would be
amended in the docket to add the identifying exhibit numbers.

       Accordingly, the following is ORDERED:

       •    The Clerk is directed to amend the docket text as follows:

               o   ECF No. 16-2 shall be designated in the docket as “Exhibit 4”.
               o   ECF No. 16-3 shall be designated in the docket as “Exhibit 5”.
               o   ECF No. 16-4 shall be designated in the docket as “Exhibit 6”.
               o   ECF No. 16-5 shall be designated in the docket as “Exhibit 7”.
               o   ECF No. 16-6 shall be designated in the docket as “Exhibit 8”.
               o   ECF No. 16-7 shall be designated in the docket as “Exhibit 9”.
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               o   ECF No. 16-8 shall be designated in the docket as “Exhibit 10”.
               o   ECF No. 16-9 shall be designated in the docket as “Exhibit 11”.
               o   ECF No. 16-10 shall be designated in the docket as “Exhibit 12”.
               o   ECF No. 21-2 shall be designated in the docket as “Exhibit 13”.
               o   ECF No. 28-2 shall be designated in the docket as “Exhibit 14”.
               o   ECF No. 31-2 shall be designated in the docket as “Exhibit 15”.
               o   ECF No. 32-2 shall be designated in the docket as “Exhibit 16”.
               o   ECF No. 33-2 shall be designated in the docket as “Exhibit 17 Part 1”.
               o   ECF No. 33-3 shall be designated in the docket as “Exhibit 17 Part 2”.

       •    The Clerk is directed to STRIKE ECF No. 34.

       •    Petitioner shall file, by no later than Friday, February 19, 2021:

               o An Exhibit List; and

               o An amended Statement of Completion (using the correct docket event).

   •   Respondent shall file, by no later than Monday, March 15, 2021, a Rule 4(c)
       Report.

      Any questions about this order or about this case generally may be directed to
OSM staff attorney Patrick Rodefeld at (202) 357-6370 or
Patrick_Rodefeld@cfc.uscourts.gov.

IT IS SO ORDERED.
                                                 s/Brian H. Corcoran
                                                 Brian H. Corcoran
                                                 Chief Special Master




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